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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF CALIFORNIA

RALPH COLEMAN, et al.,

Plaintiffs, No. CIV S-90-0520 LKK JFM P

VS.

GRAY DAVIS, et al.,

Defendants. ORDER

/

On October 23, 2002, the special master filed a tenth monitoring report. The
report contains three recommendations for specific action by defendants. Plaintiffs have not filed
objections to the report or its recommendations, and defendants object only that the first
recommendation is now moot. Good cause appearing, the special master’s second and third
recommendations will be the order of the court.

In accordance with the above, IT IS HEREBY ORDERED that:

1. Within sixty days from the date of this order, the Parole and Community
Services Division and the Health Care Services Division (HCSD) of the California Department
of Corrections (CDC) shall develop and implement procedures for the use within each CDC

institution of a common and shared list of Mental Health Services Delivery System inmates

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eligible for parole and the documentation of all contacts between Transitional Case Management
Program social workers and paroling inmates in the paroling inmates’ Unit Health Records.

2. Defendants shall forthwith begin implementation of the Mental Health
Tracking System in California Medical Facility, Ironwood State Prison, and California State
Prison at San Quentin.

DATED: December Ge 2002.

UNWNED STAYES DISTRICT COURT

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United States District Court
for the
Eastern District of California
December 9, 2002

* * CERTIFICATE OF SERVICE * *

2:90-cv-00520

Coleman
V.

Reagan

I, the undersigned, hereby certify that I am an employee in the Office of
the Clerk, U.S. District Court, Eastern District of California.

That on December 9, 2002, I SERVED a true and correct copy(ies) of

the attached, by placing said copy(ies) in a postage paid envelope
addressed to the person(s) hereinafter listed, by depositing said
envelope in the U.S. Mail, by placing said copy(ies) into an inter-office
delivery receptacle located in the Clerk’s office, or, pursuant to prior
authorization by counsel, via facsimile.

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